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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on three motions filed

by defendant McKoy:     Notice of appeal (Filing No. 358), appealing

from this Court’s memorandum opinion and judgment of August 8,

2007, denying his motions to vacate, set aside or correct his

sentence; a motion to reconsider the denial of his pro se § 2255

petition (Filing No. 359); and a pleading entitled “motion to

reconsider denial of motion for new trial” (Filing No. 360).

This latter motion appeals that portion of the Court’s memorandum

opinion and order of August 8, 2007, denying several motions

defendant had filed for new trial.

           The notice of appeal was received by the Court on

October 2, 2007, and formally filed on October 5, 2007, so it has

been filed within sixty (60) days of the Court’s memorandum

opinion and order denying his various § 2255 motions and motions

for new trial.    Accordingly, the Court finds that this notice of

appeal is timely filed.      See Rule 4(a)(1)(B) of the Federal Rules

of Appellate Procedure.
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           The motions to reconsider the denial of his pro se

§ 2255 petitions and to reconsider denial of his various motions

for new trial were also received on October 2, 2007, and filed

October 5, 2007.    These motions are clearly out of time and will

be denied.

           Title 28, United States Code, § 2253 provides that with

respect to a proceeding filed pursuant to § 2255, the final order

is subject to review on appeal to the Court of Appeals.                That

section further provides, however, that no such appeal can be

taken unless a circuit judge or the district judge issues a

certificate of appealability which may issue only “if the

applicant has made a substantial showing of the denial of a

constitutional right.”

           The Court has again reviewed the various filings of the

defendant and its order of August 8, 2007, and finds that the

defendant has not made a substantial showing of the denial of a

constitutional right, and accordingly, the Court declines to

issue a certificate of appealability.          Accordingly,

           IT IS ORDERED:

           1) Defendant’s notice of appeal is deemed timely filed

and defendant may proceed on appeal in forma pauperis.               However,

no certificate of appealability will issue from this Court.

           2) Defendant’s motion to reconsider denial of pro se

2255 petition is denied.




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           3) Defendant’s motion to reconsider denial of motion

for new trial is denied.

           DATED this 10th day of October, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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